          Case 5:23-cv-01603-SVK Document 1 Filed 04/04/23 Page 1 of 4




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     FEDERAL DEPOSIT INSURANCE CORPORATION, AS
10   RECEIVER FOR SILICON VALLEY BANK.
11

12

13                                   UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15

16   MICHAEL B. ROTHENBERG, an                      Case No. __________
17   individual;
                                                    NOTICE OF REMOVAL FROM
18            Plaintiff and Cross-Defendant,        THE SUPERIOR COURT OF THE
                                                    STATE OF CALIFORNIA FOR
19            vs.                                   THE COUNTY OF SANTA CLARA
                                                    PURSUANT TO 12 U.S.C. §
20   FEDERAL DEPOSIT INSURANCE                      1819(b)(2)
     CORPORATION, as receiver for Silicon
21   Valley Bank, a corporation, and DOES 1
22   through 10, inclusive,

23            Defendant and Cross-Complainant.

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     Defendant’s Notice of Removal                                        Case No.
          Case 5:23-cv-01603-SVK Document 1 Filed 04/04/23 Page 2 of 4




 1           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

 2   NORTHERN DISTRICT OF CALIFORNIA:

 3           PLEASE TAKE NOTICE that pursuant to 12 U.S.C. § 1819(b)(2), the Federal Deposit

 4   Insurance Corporation, an agency of the United States of America, in its capacity as receiver for

 5   Silicon Valley Bank (“FDIC-R”), defendant and cross-complainant in the matter of Rothenberg

 6   v. Silicon Valley Bank, Santa Clara Superior Court, Case No. 19CV355568 (which was

 7   consolidated with lead case Silicon Valley Bank v. Rothenberg Ventures, LLC, Case No.

 8   19CV343268), hereby removes Rothenberg v. Silicon Valley Bank, Santa Clara Superior Court,

 9   Case No 19CV355568 from the Superior Court of California, County of Santa Clara, to this Court.

10   I.      BACKGROUND

11           A.      The Parties

12           Silicon Valley Bank was a corporation organized and existing under the laws of the State

13   of California, with its principal place of business in the County of Santa Clara, State of California.

14           Plaintiff Michael B. Rothenberg is an individual. He founded and managed Rothenberg

15   Ventures Management Company (“RVMC”), an investment advisory firm that was the manager

16   of certain venture capital funds, including but not limited to, Rothenberg Ventures 2015 Fund,

17   LLC (the “2015 Fund”).

18           B.      The State Court Action

19           On August 20, 2018, Rothenberg, RVMC, the 2015 Fund, and Rothenberg Ventures

20   2016 Accredited Fund LP (the “2016 Fund”) filed the Complaint in this matter against Silicon

21   Valley Bank (“SVB”). Rothenberg alleged that contrary to his instructions to SVB to place

22   $4.25 million of funds that would serve as collateral for a line of credit for RVMC into an

23   account owned by the 2015 Fund, SVB transferred those funds without authorization into an

24   account owned by RVMC. Rothenberg alleged that this created the false appearance that

25   Rothenberg had embezzled money from the 2015 Fund and that this damaged his reputation.

26           The State Court permitted the 2015 Fund and 2016 Fund to proceed with a First

27   Amended Complaint while Rothenberg and RVMC proceeded with the original Complaint. The

28   First Amended Complaint was amended and replaced with the Second Amended Complaint
     Defendant’s Notice of Removal                       1                             Case No.
           Case 5:23-cv-01603-SVK Document 1 Filed 04/04/23 Page 3 of 4




 1   solely on behalf of the 2015 Fund. The 2015 Fund, 2016 Fund, and RVMC dismissed their

 2   claims against SVB with prejudice and are no longer in the case. Thus, the original Complaint

 3   is the operative complaint with respect to Rothenberg, who is the sole remaining plaintiff in the

 4   action.

 5             On January 4, 2021, SVB filed a cross complaint against Rothenberg, which it amended

 6   on March 8, 2021. The cross complaint seeks, among other things, equitable indemnity from

 7   Rothenberg for SVB’s settlement with RVMC, the 2015 Fund, and 2016 Fund for their

 8   respective claims against SVB in this action.

 9             On July 23, 2020, the Court consolidated this action with Silicon Valley Bank v.

10   Rothenberg Ventures, LLC, Santa Clara Superior Court, Case No. 19CV343268. That case was

11   dismissed with prejudice on August 18, 2021.

12             C.     The Receivership

13             On March 10, 2023, the California Department of Financial Protection and Innovation

14   closed SVB and appointed the Federal Deposit Insurance Corporation as receiver.

15             By operation of federal law, upon its appointment, the FDIC-R succeeded to all of

16   SVB’s liabilities, rights, titles, powers, privileges, and assets, including SVB’s interest and

17   status as both the Defendant and Cross-Complainant in this Action. See 12 U.S.C.

18   §§ 1821(d)(2)(A) and (B). On March 23, 2023, the FDIC-R filed a notice of substitution of

19   party in the State Court, thereby effectuating its substitution into the place and stead of SVB.

20   II.       BASIS FOR REMOVAL

21             The above-captioned Action is removable by the FDIC-R under 12 U.S.C.

22   § 1819(b)(2)(B), which states, in relevant part, the following:

23                    (B) Removal

24                    Except as provided in subparagraph (D), the Corporation may, without
                      bond or security, remove any action, suit, or proceeding from a State court
25                    to the appropriate United States district court before the end of the 90-day
26                    period beginning on the date the action, suit, or proceeding is filed against
                      the Corporation or the Corporation is substituted as a party.
27

28   12 U.S.C. § 1819(b)(2)(B).
     Defendant’s Notice of Removal                       2                             Case No.
          Case 5:23-cv-01603-SVK Document 1 Filed 04/04/23 Page 4 of 4




 1           A.       The Removal is Timely

 2           This Notice of Removal is timely under 12 U.S.C. § 1819(b)(2)(B) because it is filed

 3   within ninety days of the date the FDIC-R was substituted into the Action as a party, March 23,

 4   2023. Moreover, removal to this particular Court is appropriate, as this action was pending in

 5   the Superior Court of California, Santa Clara County, which is located in the Northern District

 6   of California.

 7           B.       State Court Record

 8           Pursuant to 28 U.S.C. § 1446(a), a copy of all pleadings, process, and orders filed or

 9   issued in connection with this action and which the FDIC-R has in its possession are attached

10   hereto as Exhibit A.

11           C.       Miscellaneous

12           Pursuant to 28 U.S.C. § 1446(d), the FDIC-R will file in the State Court, and serve on all

13   parties to this action, a copy of this Notice of Removal.

14           The FDIC-R is not required to obtain consent of the other parties in order to effectuate

15   removal pursuant to 12 U.S.C. § 1819(b)(2)(B).

16           Finally, under 12 U.S.C. § 1819(b)(4), the FDIC-R is exempt from paying a filing fee in

17   connection with this removal.

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19
     Dated: April 4, 2023                  PILLSBURY WINTHROP SHAW PITTMAN LLP
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21                                                      /S/ KENNETH E. KELLER
22                                         By:       KENNETH E. KELLER
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23                                                   LAURA C. HURTADO
                                                     ALEKZANDIR MORTON
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                                                     Attorneys for Defendant and Cross-
25
                                                     Complainant Federal Deposit Insurance
26                                                   Corporation, as Receiver for Silicon Valley
                                                     Bank
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     Defendant’s Notice of Removal                      3                            Case No.
